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 Attorneys for the Debtors

                                                   UNITED STATES BANKRUPTCY COURT
 In re:                                          : FOR THE DISTRICT OF NEW JERSEY

 SHAPES/ARCH HOLDINGS L.L.C., et                 : CHAPTER 11
 al.,
                                                 : CASE NO. 08-14631 (GMB)
                       Debtors.                    (Jointly Administered)
                                                 :


       APPLICATION FOR ORDER SHORTENING TIME PERIOD FOR NOTICE OF
     DEBTORS’ VERIFIED MOTION PURSUANT TO 11 U.S.C. §§ 105(a), 1123 AND 1129
        AND BANKRUPTCY RULE 2002 FOR AN ORDER APPROVING: (A) THE
      COMPETITIVE PROCESS FOR THE SALE OF THE REORGANIZED DEBTORS’
        EQUITY PURSUANT TO THE DEBTORS’ SECOND AMENDED PLAN OF
             REORGANIZATION AND (B) APPROVING A BREAK-UP FEE
                       AND EXPENSE REIMBURSEMENT

 TO:      THE HONORABLE GLORIA M. BURNS
          Your applicant, Jerrold N. Poslusny, Jr., respectfully represents:

          1.      Your applicant is a member with the firm of Cozen O’Connor, attorneys for the

 above captioned debtors and debtors-in-possession (the “Debtors”).1 I am familiar with the facts

 of this case.

          2.      Your applicant has filed a motion for an order approving: (a) the Competitive

 Process for the sale of the reorganized Debtors’ equity under the terms and conditions of the


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   Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them
 in the Motion.

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 Debtors’ Second Amended Plan of Reorganization; and (b) approving a Break-Up Fee and an

 Expense Reimbursement (the “Motion”).

         3.       A shortened hearing date is requested as the parties agreed, at the May 1, 2008

 hearing, to the process for the sale of the Debtors’ equity to Arch Acquisition I, LLC (“Arch”).

 As discussed in the Motion, qualified bids must be received no later than June 25, 2008.

 Shortened notice is requested in order to provide as much time as possible to market the Debtors

 and to provide potential bidders with sufficient time to complete due diligence.

         4.       Your Applicant requests a hearing be scheduled on May 19, 2008, at 2:00 p.m.

         5.       Reduction of the time period in question is not prohibited under Fed. R. Bankr. P.

 9006(c)(1) and the Rules listed therein.


         WHEREFORE, your applicant requests entry of the Order submitted herewith.

 Dated: May 12, 2008                     COZEN O’CONNOR


                                                By:       /s/ Jerrold N. Poslusny, Jr.
                                                      Mark E. Felger
                                                      Jerrold N. Poslusny, Jr.

                                                      Attorneys for the Debtors




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